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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

IN RE:                                         Case No. 6:18-bk-03911-CCJ
Anthony Michael Morrone, Jr.                   Chapter 7

       Debtor.                             /

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                  (RE: 1118 Jacaranda Avenue, Daytona Beach, FL 32118)

       COMES NOW, Wells Fargo Bank, National Association, as Trustee for Banc of America

Alternative Loan Trust 2005-2 Mortgage Pass-Through Certificates, Series 2005-2, by and through

its undersigned attorneys, moves the Court for an Order Granting Relief from the Automatic Stay

pursuant to 11 USC 362(d)(1) and 11 USC 362(d)(2)(A) and in support thereof would show:

     1.        This is a motion pursuant to Bankruptcy Rule 4001(a) for relief from the

automatic stay provisions of Section 362(a) of the Bankruptcy Code.

     2.        Debtor filed a petition under Chapter 7 Bankruptcy Code on June 29, 2018.

     3.        Wells Fargo Bank, National Association, as Trustee for Banc of America Alternative

Loan Trust 2005-2 Mortgage Pass-Through Certificates, Series 2005-2, is a secured creditor by

virtue of a promissory Note and Mortgage on real property. The Note, Mortgage, and

Assignment of Mortgage are attached hereto as Exhibit "A". Said real property has the

following legal description:

       LOT 13, BLOCK 5, SECTION "B", WHANORSHAM UNIT #2, ACCORDING TO
       THE PLAT THEREOF AS RECORDED IN MAP BOOK 23, PAGE(S) 76, OF THE
       PUBLIC RECORDS OF VOLUSIA COUNTY, FLORIDA.

             Property Address: 1118 Jacaranda Avenue, Daytona Beach, FL 32118

     4.        The payments due pursuant to the aforementioned note and mortgage have been

in default, and remain in default since November 1, 2008.
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     5.        The Debtor is indebted to the secured creditor in the approximate amount

$365,856.97 as of July 3, 2018.

     6.        The Volusia County Property Appraiser shows a just market value of the property

at $196,262.00. A copy of the evidence of value is attached hereto and made a part hereof as

Exhibit "B".

     7.        There is no equity in the property.

     8.        The Debtor failed to adequately protect the interest of the secured creditor.

     9.        Wells Fargo Bank, National Association, as Trustee for Banc of America Alternative

Loan Trust 2005-2 Mortgage Pass-Through Certificates, Series 2005-2, is prohibited from

instituting and /or completing a foreclosure action in the State Court because of the pendency of

this Bankruptcy action, and that in the absence of the court's Order allowing the secured creditor,

Wells Fargo Bank, National Association, as Trustee for Banc of America Alternative Loan Trust

2005-2 Mortgage Pass-Through Certificates, Series 2005-2, to proceed with the Foreclosure

action, the secured creditor's security will be significantly jeopardized.

    10.        Nationstar Mortgage LLC d/b/a Mr. Cooper also seeks relief to consider the

Debtor for any short sale or deed in lieu of foreclosure as alternatives to proceeding with a

judicial foreclosure action.

    11.        Once the stay is terminated, Debtor will have minimal incentive to insure,

preserve, or protect the collateral; therefore, Secured Creditor Wells Fargo Bank, National

Association, as Trustee for Banc of America Alternative Loan Trust 2005-2 Mortgage Pass-

Through Certificates, Series 2005-2, requests that the Court waive the 14-day stay period imposed

by Fed.R.Bankr.P. 4001(a)(3).
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       WHEREFORE, Wells Fargo Bank, National Association, as Trustee for Banc of America

Alternative Loan Trust 2005-2 Mortgage Pass-Through Certificates, Series 2005-2, moves this

Honorable Court for an Order Granting Relief from the Automatic Stay and waiver of the 14-day

stay imposed by Fed.R.Bankr.P. 4001(a)(3) allowing movant to pursue its State Court remedies

or for any other relief as this Court deems just and proper.




                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Motion for Relief
from the Automatic Stay and Notice of Opportunity to Object and for Hearing has been sent to
the following on this 12th day of July, 2018.

Anthony Michael Morrone, Jr, PRO SE, 2060 Kenilworth, South Daytona, FL 32119
Gene T Chambers, Post Office Box 533987, Orlando, FL 32853
United States Trustee, 400 West Washington Street, Suite 1100, Orlando, FL 32801


                                              /s/Elizabeth Eckhart
                                              Elizabeth Eckhart
                                              FL Bar # 0048958
                                              Shapiro, Fishman & Gaché, LLP
                                              Attorney for Secured Creditor
                                              4630 Woodland Corporate Blvd.
                                              Suite 100
                                              Tampa, FL 33614
                                              Telephone: 813-319-5278
                                              Fax: (813) 880-8800
                                              E-mail: eeckhart@logs.com
14-277893
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Altkey: 3136853                                                                                          Parcel ID: 423606050130
A M MORRONE LLC TR                                                                          1118JACARANDA AV , DAYTONA BEACH

Parcel

Short Parcel Id                                    423606050130
Property Location                                  1118 JACARANDA AV, DAYTONA BEACH, 32118
PC Code                                            0100 - SINGLE FAMILY
Total Bldgs                                        1
Neighborhood                                       2252 - WHANORSHAM UTS 1 & 2
Business Name

Primary Owner

Owner                                              A M MORRONE LLC TR

In Care Of                                         C/O ANTHONY MORRONE
Mailing Address                                    1500 BEVILLE RD STE 606-277

                                                   DAYTONA BEACH FL 32114

All Owners

#    Owner 1                                           Owner 2            Owner %                Owner Type(s)
0    A M MORRONE LLC TR                                                             100          TR - Trust


Legal

Millage Group                                      204-DAYTONA BEACH
Legal Description                                  LOT 13 BLK 5 SEC B WHANORSHAM UNIT 2 MB 23 PG 76 PER OR 4942 PG 1365
                                                   PER OR 5479 PG 1013 PER OR 6391 PGS 0173-0174 PER OR 6746 PG 2660
Map TWP-RNG-SEC                                    14 - 32 - 36
Subdivision-Block-Lot                              06 - 05 - 0130
Date Created                                       26-DEC-81
Year Annexed

Sales

Book/Page               Instr Type                           Inst #                 Sale Date               V/I              Sale Price
6746 / 2660             WD-WARRANTY DEED                     2012144931             08/10/2012           I                         $100
6391 / 0173             QC-QUIT CLAIM DEED                   2009160373             08/12/2009           I                         $100
5479 / 1013             WD-WARRANTY DEED                     2005018499             01/19/2005           I                     $249,000
4942 / 1365             WD-WARRANTY DEED                     2002230546             09/15/2002           I                     $150,000
3842 / 4990             WD-WARRANTY DEED                     1993098324             07/15/1993           I                      $90,500
3663 / 0501             QC-QUIT CLAIM DEED                   1991090066             07/15/1991           I                         $100
3504 / 1360             QC-QUIT CLAIM DEED                   1990097186             08/15/1990           I                         $100
3217 / 1682             QC-QUIT CLAIM DEED                   1988141736             11/15/1988           I                         $100
1551 / 0150             NM-NM                                                       03/15/1973           I                      $42,400


County Links

Property Tax Bill                                  CLICK HERE
Link to Permits                                    CLICK HERE

Other Links

Google Street Address                              CLICK HERE
Bing Maps                                          CLICK HERE



Land & Agriculture

 #                  Land Code                   Type        Units     Acres    Sq Feet    FF     Depth            Rate     Just Value
1 0101-IMP PVD THRU .49 AC                   FRONT FOOT                .3802     16,560   92.0        180         675.00        $64,274


Land Summary




http://publicaccess.
                   vcgov.
                        org/volusia/Datalets/Pri
                                               ntDatalet.
                                                        aspx?pin=3136853&gsp=PROFI.
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Land Code                                                 0101-IMP PVD THRU .49 AC
Total Land Value                                          $64,274
Value/Square Feet                                         3.88
Value/Acre                                                169,053.13
Depth Factor                                              1.15
Location Factor                                           100
Influence 1                                               -10 - Shape
Influence 2                                               -

Total Land Value

                                       Total Land Value                                                                     $64,274

AGVAL Summary

AG Value
Appraised Value
Non AG Just Value
Total Land Value

Residential

Card (Bldg)#                                              1
#Stories                                                  1
Style
Improvement Type                                          R1 - Single Family
Quality Grade                                             300
Year Built / Eff Year                                     1957 / 1982
Total SFLA                                                1,500


Exterior Wall                                             15 - CONCRETE - CINDER BLOCK
Foundation                                                2 - CONCRETE BLOCK
HVAC                                                      Y - AIR CONDITIONING
Floor Type                                                12 - WOOD - HARDWOOD
Roof Type                                                 03 - GABLE
Roof Cover                                                3 - ASPHALT SHINGLE
Wall Type                                                 3 - PLASTER
Heat Source                                               1 - ELECTRICITY
Heat Method                                               6-6
Bedrooms                                                  3
2 Fixture Baths                                           1
3Fixture Baths                                            2
4Fixture Baths                                            0
5 Fixture Baths                                           0
6Fixture Baths                                            0
7 Fixture Baths                                           0
Addl Fixtures                                             1
FPL: Stacks/Openings/Blt In                               1 / 1/

Total Building Value                                      $115,857

Additions to Base Area

Building                 Description                                                          Year Built                      Area
1                        MAIN BUILDING                                                                                        1,500
1                        Finished Enclosed Porch                                                                                221
1                        Unfinished Garage                                                                                      606
1                        Porch, Open Finished                                                                                   112
1                        Porch, Open Unfinished                                              2000                               351
1                        Patio                                                               2000                               352


Main Building Rates


                               Base        Level               Area            Story        Grade          Const               RCN
                               Rate        Factor             Factor           Factor       Factor         Factor             Value
Base House                    78,685   X   1.000    X         1.216    X       1.000    X   1.020      X   1.000     =       97,595




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Foundation                       0       X   1.000      X     1.216     X        1.000          X        1.020         X      1.000            =                0
HVAC                             0       X   1.000      X     1.216     X        1.000          X        1.020         X      1.000            =                0
Attic                            0       X   1.000      X     1.216     X        1.000          X        1.020         X      1.000            =                0
Other Features
                               Rate           SLF             Units                                      Grade                                 =
1 Story Fireplace              3,772     X   1.000      X      1        X                                 1.020        X                       =           3,847
2 Story Fireplace                0       X   1.000      X      0        X                                 1.020        X                       =               0
                                                                                Fireplace               Plumbing            Misc Value         =
Feature Totals                                                                    3,847         +        11,723        +        0              =         15,570
Building Subtotal                                                                                                                                       113,165
Points Factor                                                                                                                                             1.000
Base RCN                                                                                                                                                143,898
Sections RCN                                                                                                                                             37,082
Total RCN                                                                                                                                               150,247
                                              Phy              Mkt                Obs                      Ecn                    Fun
Depreciation                                  .720      X     .000      X         .000          X         .000         X          .000         X           .720
Base RCNLD                                                                                                                                              103,607
Sections RCNLD                                                                                                                                           28,049
Total RCNLD                                                                                                                                             131,656
Nbhd Factor                                                                                                                                                .880
Final Value                                                                                                                                             115,857


Miscellaneous Improvements

#                              Code                              Year Built          Grade          Units        L W       Area          Unit Rate Value
1   RSP-POOL, RESIDENTIAL SWIMMING                              1957                        C       1                       512            $58.27       $14,917
2   PTO-PATIO/CONCRETE SLAB                                     1957                        C       1                       502             $4.32          $434
3   PTO-PATIO/CONCRETE SLAB                                     1957                        C       1                        56             $4.32           $48
4   OPR-PORCH, OPEN RESIDENTIAL                                 1988                        A       1            8 12        96            $14.64          $562
5   FSW-STORAGE BUILDING WOOD                                   2000                        C       1                       100            $17.00          $170


Total Miscellaneous Value

                                         Total Misc Value                                                                                               $16,131

Working Tax Roll Values

Year     Land Value        Impr Value    Just Value         Non-Sch Assd           Non-Sch Exemptions                  Non-Sch Taxable             HX Savings
2018             $64,274      $131,988       $196,262                $179,083                                    $0                 $179,083                 $0


Previous Year Values

Year     Land Value        Impr Value    Just Value         Non-Sch Assd           Non-Sch Exemptions                  Non-Sch Taxable             HX Savings
2017             $64,318      $124,803       $189,121                $162,803                                    $0                 $162,803                 $0
2016             $57,172      $104,813       $161,985                $148,003                                    $0                 $148,003                 $0
2015             $57,172       $90,946       $148,118                $134,548                                    $0                 $134,548                 $0
2014             $38,115       $84,201       $122,316                $122,316                                    $0                 $122,316                 $0
2013             $38,115       $76,230       $114,345                $114,345                                    $0                 $114,345                 $0
2012             $38,115       $65,987       $104,102                $104,102                                    $0                 $104,102                 $0
2011             $47,167       $66,793       $113,960                $113,960                                    $0                 $113,960                 $0
2010             $47,167       $78,908       $126,075                $126,075                                    $0                 $126,075                 $0




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              Item                                                             Area

              Main Building                                                    1500

              RSP - RSP:POOL, RESIDENTIAL SWIMMING                             512

              FEP:Finished Enclosed Porch                                      221

              PTO - PTO:PATIO/CONCRETE SLAB                                    502

              UGR:Unfinished Garage                                            606

              PTO - PTO:PATIO/CONCRETE SLAB                                    56

              FOP:Porch, Open Finished                                         112

              OPR - OPR:PORCH, OPEN RESIDENTIAL                                96

              UOP:Porch, Open Unfinished                                       351

              FSW - FSW:STORAGE BUILDING WOOD                                  100

              PTO:Patio                                                        352




http://publicaccess.
                   vcgov.
                        org/volusia/Datalets/Pri
                                               ntDatalet.
                                                        aspx?pin=3136853&gsp=PROFI.
                                                                                  .. 7/9/2018
